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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Southern District
                                             __________  DistrictofofNew York
                                                                      __________


United States of America, ex rel. Intergra Med Analytic        )
                             Plaintiff                         )
                                v.                             )      Case No.     17-cv-09424-CS
                      Issac Laufer et al.                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Tami Whitney                                                                                                 .


Date:          07/12/2021                                                              /s/ Edward E. Shapiro
                                                                                         Attorney’s signature


                                                                               Edward E. Shapiro (Bar No. 5169503)
                                                                                     Printed name and bar number
                                                                               Glenn Agre Bergman & Fuentes LLP
                                                                                       55 Hudson Yards
                                                                                           20th Floor
                                                                                      New York, NY 10001
                                                                                               Address

                                                                                     eshapiro@glennagre.com
                                                                                            E-mail address

                                                                                          (212) 358-5600
                                                                                          Telephone number

                                                                                          (332) 233-5784
                                                                                             FAX number
